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Appellate Case: 18-8087 Document: 010110101185 Date Filed: 12/20/2018 Page: 1
                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT
                                OFFICE OF THE CLERK
                                Byron White United States Courthouse
                                         1823 Stout Street
                                      Denver, Colorado 80257
                                          (303) 844-3157
   Elisabeth A. Shumaker                                                    Chris Wolpert
   Clerk of Court                     December 20, 2018                Chief Deputy Clerk




   Mr. Stephan Harris
   United States District Court for the District of Wyoming
   Office of the Clerk
   2120 Capitol Avenue, Room 2141
   Cheyenne, WY 82001-0000

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           Case 2:17-cv-00202-NDF Document 87 Filed 12/20/18 Page 2 of 2
Appellate Case: 18-8087 Document: 010110101185 Date Filed: 12/20/2018 Page: 2
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   Environment & Natural Resources Division
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   Ben Franklin Station
   Washington, DC 20044

   RE:       18-8087, Western Watersheds Project, et al v. Christiansen, et al
             Dist/Ag docket: 2:17-CV-00202-NDF

  Dear Clerk and Counsel:

  Please be advised that the court issued an order today dismissing this case.

  In addition, please be advised that the mandate for this case has issued today. The clerk of
  the originating court or agency shall file accordingly.

  Please contact this office if you have questions.

                                              Sincerely,



                                              Elisabeth A. Shumaker
                                              Clerk of the Court




   EAS/lab



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